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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION
                            CASE NO.: 2:19-cv-02357-DCN

John Doe,                                      )
                                               )
                       Plaintiff,              )
                                               )
v.                                             )                     COMPLAINT
                                               )                  (Jury Trial Demanded)
The Citadel a/k/a The Military College         )
of the State of South Carolina and             )
Kenneth G. Boes, individually and in his       )
official capacity for The Citadel a/k/a The    )
Military College of the State of South         )
Carolina,                                      )
                                               )
                       Defendants.             )
                                               )

       Plaintiff, John Doe, by and through his undersigned counsel, complaining of above-named

Defendants, alleges the following:

       1.      This is a civil action for monetary damages brought by John Doe, arising

from violations of his federal civil rights and rights protected under the laws of the State of South

Carolina as a result of sexual assaults and other misconduct (providing alcohol to a minor while in

counseling, etc.) committed by the above-named Defendants.

       2.      John Doe is an adult male individual who is presently a citizen and resident

of Texas. Plaintiff’s actual name is not pleaded in this Complaint in order to protect his identity

because he was a victim of sexual assault. The identity of the Plaintiff will be made known to the

Defendants by separate communication.

       3.      Defendant, The Citadel, also known as The Military College of the State of

South Carolina (hereinafter referred to as “The Citadel”) is a private/public organization

established by and operated by the State of South Carolina, with its principal place of business at

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171 Moultrie Street, Charleston, SC 29409. The Citadel conducts business in South Carolina. It

is sued in South Carolina based on its presence in Charleston County and because one or more acts

of sexual abuse between its agent/employee Kenneth Boes and John Doe occurred in Charleston

County.

       4.      Defendant, Kenneth G. Boes (hereinafter referred to as “LTC Boes”), also

known as Ken Boes, is and was, always relevant herein, an agent/servant/employee of The Citadel.

He is sued in both his individual capacity and in his official capacity as a Tactical Officer under

the command of the Commandment of Cadets while employed by The Citadel. He is an adult

male citizen and resident of the County of Charleston, State of South Carolina. He is sued in

Charleston County based on tortious acts he committed against John Doe in Charleston County.

       5.      The acts and/or omissions alleged in this Complaint committed by LTC

Boes were while acting as an officer, principal, agent, teacher, employee, and/or representative of

The Citadel.

       6.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 1331, 1343(3), and 1367(a) and under Title IX of the Education Amendments of 1972.

Venue is proper under 28 U.S.C. § 1391(b).

       7.      The Citadel incorporates a military based hierarchy into its education and

training which is based on military standards and a set of Core Values that form a code of conduct

that is expected of students and faculty.

       8.      The Core Values require a commitment to a life-long obligation to moral and

ethical behavior, doing the right thing and treating people with dignity and worth.

       9.      The Citadel also requires adherence to an Honor System that forbids lying,

cheating, stealing or tolerating those who engage in such behavior.



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       10.     The Citadel has the expectation that its faculty will adhere to and practice

the tenants of the Core Values and Honor System.

       11.     The Citadel administers its system of leadership and discipline through the

office of the Commandant of Cadets which is run by the Commandant and his staff, including

Tactical Officers.

       12.     LTC Boes began his Tactical Officer career at The Citadel in 2003 and was

employed by The Citadel for many years, tasked primarily by the Commandant to 4th Battalion.

The role of a tactical officer is to Teach, Advise and Coach (“TAC”) cadets as part of The Citadel’s

military and leadership training.

       13.     John Doe met LTC Boes while attending summer school at The Citadel in

the summer of 2017. John Doe was 20 years old at the time.

       14.     LTC Boes met John Doe through the Citadel’s curriculum. LTC Boes

recruited, groomed, and coerced John Doe during a time when John Doe was experiencing

difficulties personally and with school, under the guise of shepherding him through school to

ensure that John Doe would graduate.

       15.     LTC Boes was aware of John Doe’s weakened mental and psychological

state due to previous disciplinary issues at The Citadel and knew that John Doe wanted very much

to graduate from The Citadel. LTC Boes used his position of great authority to prey on John Doe

for sexual favors as is more fully described below.

       16.     The Citadel is aware of the risk of sexual violence between students and

faculty and has specifically recognized that sexual violence is a problem on college and university

campuses

       17.     The Citadel defines sexual violence as any non-consensual physical



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conduct of a sexual nature and further recognizes that a person cannot legally consent to sex if he

or she is incapacitated from drugs or alcohol or is induced to engage in sexual activity by the other

person’s abuse of position of power, trust or authority.

       18.     In his capacity as a Tactical Officer for The Citadel, LTC Boes portrayed

himself as a field grade Army officer and pillar of integrity who emphasized the importance of the

cadets’ development and display of superior physical and mental abilities. By virtue of his military

rank and position as Tactical Officer, LTC Boes was in a position of authority and power over

students including John Doe.

       19.     Over the weeks and months following meeting John Doe, LTC Boes

continued to groom John Doe for later sexual interactions. John Doe visited and/or stayed the

night at LTC Boes’ residence located on The Citadel campus.

       20.     During John Doe’s initial visit to LTC Boes’ residence, LTC Boes provided

alcohol and cigars to John Doe (an underage adult) and began developing a bond with John Doe.

       21.     Thereafter, LTC Boes provided John Doe with alcohol and/or cigars in the

range of fifty (50) to sixty (60) times from the Summer of 2017 to April 2018. He provided alcohol

to John Doe despite his knowledge that John Doe had undergone counseling for the underage use

of alcohol and was actively undergoing counseling for alcohol use.

       22.     LTC Boes’ wife would routinely smoke marijuana while John Doe was at

LTC Boes’ home.

       23.    Beginning in 2017, and continuing through 2018, LTC Boes, while under the

employment, supervision, and control of The Citadel as a Tactical Officer sought after and sexually

violated John Doe. The sexual abuse occurred on multiple occasions and at multiple locations on

The Citadel’s premises and other locations in Charleston, South Carolina.



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          24.   On or about September 29, 2017, LTC Boes summoned John Doe to his

office located on the 1st floor of the 4th Battalion’s Barracks on The Citadel’s premises. LTC Boes

and John Doe proceeded to Deas Hall (The Citadel’s gym) to exercise for about an hour. After

exercising, LTC Boes and John Doe returned to LTC Boes’ office located on the 1st floor of the

4th Battalion’s Barracks. During this interaction, Boes assaulted John Doe by inappropriate

touching, locked and blocked the office door, and forcibly kissed John Doe on the lips without his

consent. LTC Boes then subsequently confessed his homosexuality and love for John Doe.

          25.   John Doe was devastated by LTC Boes’ conduct and felt deceived by LTC

Boes given the trust that he had built and given the trust that LTC Boes had cultivated through his

actions and statements indicating that he would help and protect John Doe.

          26.   Following the September 29, 2017 event, LTC Boes continued to pursue a

relationship with John Doe insisting that, without his help, John Doe would be unable to graduate

from The Citadel.

         27.    On several occasions following the September 29, 2017 incident, LTC Boes

groped John Doe’s buttocks and made verbal sexual comments during their interactions on The

Citadel’s premises. LTC Boes threatened that, if John Doe did not go along with his advances,

John Doe would not graduate.

          28.   On November 10, 2017, LTC Boes invited John Doe to his residence

located on The Citadel’s campus.

          29.   During this interaction, LTC Boes provided dinner, snacks, alcohol, and

unidentified pills to John Doe. LTC Boes advised John Doe to take the unidentified pills to prevent

a hang-over the following morning. After taking the unidentified pills, John Doe began to feel

dizzy.



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       30.     While John Doe was under the influence of the medication and alcohol, LTC

Boes sexually assaulted John Doe. John Doe awoke the following morning naked in the bed with

LTC Boes who was also naked.

       31.     Following the sexual violations referenced in the above paragraphs, LTC

Boes repeatedly forced John Doe to engage in sexual acts on and off of the campus of The Citadel.

       32.     Said conduct was undertaken while LTC Boes was under the supervision

and authority of The Citadel and often under circumstances that should have gained the attention

of authorities at The Citadel.

       33.     The unlawful and unwanted sexual acts by LTC Boes included: a)

performing sexual acts on John Doe; b) impermissibly touching John Doe’s body including his

penis; c) requiring John Doe to shower while he watched; d) retaining items of clothing belonging

to John Doe; and e) engaging in other acts both physical and verbal that were of a sexual nature.

       34.     On numerous occasions, LTC Boes intentionally secluded himself with John

Doe to permit sexual access to John Doe.

       35.     LTC Boes sexually abused John Doe 40 to 50 times from approximately

September 2017 to April 2018.

       36.     The Citadel employs a “Cadet Accountability System” to track accusations,

rules violations, offenses, circumstances of extenuation or mitigation, punishment, and other

matters related to cadet discipline.

       37.     The Cadet Accountability System is administered by The Citadel’s Office of

the Commandant, the officer who is responsible for the command, control, and administration of

the Corps of Cadets, including matters of cadet discipline.

       38.     The Commandant reports directly to the President of The Citadel.



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       39.      LTC Boes used his position of power and his contacts within the Office of

the Commandant to resolve accusations against John Doe and to change punishments to be

rendered to John Doe in exchange for performing sexual acts on John Doe under a system that he

called “quid pro quo”.

       40.      The Citadel recognizes “Quid Pro Quo” as a type of sexual harassment that

occurs when the terms or conditions of employment, educational benefits, and academic grades or

opportunities, living environment or participation in college activity is conditioned upon, either

explicitly or implicitly, submission to unwelcome sexual advances or requests for sexual favors,

or such submission is a factor in decisions affecting that individual’s employment, education,

living environment, or participation in a college program or activity. Generally, perpetrators will

be agents or employees with some authority from the college.

       41.      LTC Boes would resolve disciplinary issues, procure leave and

help ensure John Doe would graduate so long as John Doe cooperated in his desires to commit

sexual acts on John Doe as part a Quid Pro Quo system.

       42.      For example, LTC Boes would provide alibis and/or corroboration for John

Doe when John Doe allegedly failed to report for class or other commitments.

       43.      In addition, LTC Boes would falsely report to the Commandant’s office that

John Doe had engaged in mitigating conduct to reduce possible discipline (for instance, he reported

that John Doe had performed community service such as giving blood when in fact he had never

given blood).

       44.      All of this was part of LTC Boes’ scheme to reduce punishments to force

John Doe to submit to his sexual advances.

       45.      During the entire period of sexual assaults upon John Doe, LTC Boes used



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his position of superiority as The Citadel’s Tactical Officer to avoid and/or to reverse The Citadel’s

disciplinary actions pertaining to John Doe.

       46.     LTC Boes repeatedly threatened John Doe and constantly stressed to John

Doe that if John Doe told anyone about the sexual abuse, LTC Boes would have all of the

disciplinary actions reinstated. These efforts were used as threats to silence John Doe and ensure

his continued adherence to his sexual abuse.

       47.     The actions of LTC Boes in manipulating John Doe’s discipline were known

to the Office of the Commandant, which would change the Cadet Accountability System to reflect

LTC Boes’ instructions, all the while knowing that LTC Boes was not John Doe’s Tactical Officer.

       48.     These disciplinary changes were such that the Commandant and members

of his office knew or should have known that improper conduct was occurring.

       49.     On at least one occasion, during the 2017 Christmas break, the

Commandant of Cadets gave LTC Boes the keys to Deas Hall so that he and John Doe could

exercise. Following the period of exercise, LTC Boes sexually assaulted John Doe in Deas Hall.

       50.     The Commandant’s Office was aware that: 1) John Doe kept his truck at

LTC Boes’ residence on the campus; 2) John Doe routinely missed formations that would be

excused by LTC Boes; 3) Cadet leadership had raised questions about the relationship between

John Doe and LTC Boes including the excusal of punishable offenses such as missing formation;

4) LTC Boes was not John Doe’s Tactical Officer; 5) LTC Boes was serving alcohol to underage

cadets including John Doe; 6) that John Doe was receiving punishments that were not served but

instead were marked as completed in the CAS such that John Does’ TAC officer questioned how

his punishments went from “red to green” overnight; 7) that John Doe was granted an inordinate

amount of leave over and above what is granted similarly situated cadets; 8) that John Doe



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committed offenses punishable by tours that were written up as minor offenses with little to no

punishment; and 9) other conduct that was out of the ordinary and indicative of an improper

relationship. As a result of this knowledge, The Citadel facilitated LTC Boes in committing the

acts described herein.

        51.     John Doe suffered in silence for over six (6) months and was afraid to take

any actions against LTC Boes for fear that he would not graduate.

        52.     In April 2018, John Doe left The Citadel under great duress created by the

actions of LTC Boes and The Citadel’s failure to protect him from such abuse.

        53.     Following John Doe’s departure from The Citadel, LTC Boes came to John

Doe’s job site and caused John Doe further mental distress and harm.

        54.     John Doe has suffered and continues to suffer physical, psychological, and

emotional injuries which have caused and in the future will cause him to suffer one or more of the

following elements of damage: (a) physical pain; (b) interference with relationships with others

(c) mental anguish resulting in post-traumatic stress; (d) emotional distress; (e) loss of sleep and

inability to concentrate; (f) loss of the enjoyment of life; (g) shock and injury to his nerves and

nervous system; (h) increased susceptibility to future injury; (i) substantial expenses for medical

services in the past and in the future; (j) withdrawal from school in April 2018 under the above-

described circumstances thereby resulting in his transcripts reflecting failing grades which

negatively affects his ability to further his education; and (k) all other damages provable at the trial

of this case.

                                   FIRST CAUSE OF ACTION
                                   Negligence/Gross Negligence

        55.     John Doe realleges and reincorporates all preceding paragraphs as if fully

set forth herein.

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       56.     The Citadel had a duty to protect John Doe when he was entrusted to its

care by his parents. John Doe’s care, welfare, and/or physical custody were temporarily entrusted

to The Citadel when John Doe attended functions sponsored by Citadel and when on properties

and premises operated by The Citadel. The Citadel solicited and voluntarily accepted the entrusted

care of John Doe. As such, The Citadel owed John Doe a special duty of care, in addition to a

duty of ordinary care, and owed John Doe the higher duty of care to protect students/cadets from

harm by adults supervising students/ cadets in their care. John Doe was owed by The Citadel a

duty to be protected from harm inflicted upon him by LTC Boes when John Doe attended the

activities of The Citadel and when John Doe was on the premises of The Citadel, where LTC Boes

was assigned and served.

       57.     The Citadel, by and through its agents, servants, and employees, knew or

reasonably should have known of LTC Boes’ dangerous and exploitive propensities and/or that

LTC Boes was an unfit agent because of his sexual interest in certain students/ cadets and his

history of routinely “getting too close to cadets.”

       58.     It was reasonably foreseeable that if The Citadel did not adequately

exercise reasonable care or discharge the duty of care owed to students/cadets in its care, including

but not limited to John Doe, the students/cadets entrusted to the care of The Citadel would be

vulnerable to sexual abuse by The Citadel’s employees, including LTC Boes.

       59.     The Citadel acted negligently, grossly negligently, recklessly, maliciously,

willfully, and wantonly, and breached this duty with respect to John Doe by:

               a.      Failing to provide necessary protection to John Doe while he
                       was in the care of and custody of The Citadel;

               b.      Failing to protect John Doe from foreseeable harm of sexual
                       misconduct of its employees or personnel, including LTC
                       Boes;

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                c.      Failing to use due care and caution in safekeeping John Doe;

                d.      Failing to sufficiently monitor John Doe while he was in the
                        care of The Citadel;

                e.      Failing to properly train the staff to ensure the safety of John
                        Doe;

                f.      Failing to institute and/or to enforce adequate policies and
                        procedures to protect John Doe from abuse after The Citadel
                        knew other staff members sexually abused young
                        cadets/students while acting within the scope of their official
                        duties;

                g.      Failing to protect John Doe’s right to security, right to
                        privacy, and right to personal liberty;

                h.      Failing to protect John Doe from an intrusion of his privacy;

                i.      By allowing LTC Boes visiting John Doe’s jobsite when it
                        was foreseeable that such a visit would cause further
                        apprehension and distress given the nature of the abuse
                        suffered by John Doe; and

                j.      Any other particulars which may be shown at trial.

        60.     As a direct and proximate result of The Citadel’s breaches of duty, John

Doe was sexually assaulted by LTC Boes.

        61.     John Doe is entitled to damages as a result of acts and/or omissions of The

Citadel.

                                               Title IX

        62.     John Doe realleges and reincorporates all preceding paragraphs as if fully

set forth herein.

        63.     The Citadel is a regular recipient of federal funding and had been at all

times relevant to the facts giving rise to this action.

        64.     The Citadel failed to have policies, procedures, practices, and customs in

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place to assure John Doe was not a victim of harassment and sexual abuse based upon his gender

and/or to prevent sexual assaults that violated his rights pursuant to Title IX of the Education

Amendments of 1972 (Title IX), 86 Stat. 373, as amended, 20 U.S.C. § 1681, et seq.

        65.     At the time of the incidents of sexual assault described above, LTC Boes

was an agent and servant of The Citadel acting within the scope of his employment for the purposes

of Title IX.

        66.     As a direct and proximate result of the unlawful and wrongful acts of

Defendants, jointly and severally, John Doe has suffered and continues to suffer damages as

follows, for which Defendants are liable: great pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, humiliation, and loss of enjoyment of life; was prevented and will continue to be prevented

from performing his daily activities and obtaining the full enjoyment of life; has sustained and will

continue to sustain loss of earnings and earning capacity; and has incurred and will continue to

incur expenses for medical and psychological treatment, therapy, and counseling.

        67.     Pursuant to 42 U.S.C. § 1988, a prevailing party in a Title IX case is entitled

to recover his attorney’s fees and expert fees. Hence, John Doe further prays for all costs, attorney

fees, and expert fees associated with bringing the present case to trial.

                             SECOND CAUSE OF ACTION
        Negligence/ Gross Negligence (Negligent Hiring, Retention and Supervision)

        68.     John Doe realleges and reincorporates all preceding paragraphs as if fully

set forth herein.

        69.     The Citadel had a duty to provide reasonable supervision of its employee

and agent, LTC Boes, when he interacted with cadets/students.

        70.     It was reasonably foreseeable that those employees and agents of The

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Citadel who have a sexual interest in male students, including LTC Boes, would sexually abuse

students, including John Doe, unless properly supervised. Moreover, The Citadel knew, or should

have known, of LTC Boes’ propensity to “get too close to cadets.”

       71.     A reasonable investigation into the background of LTC Boes would have

indicated that he had in interest in other males such that The Citadel should have been on notice

that LTC Boes was not fit to be around male students and/or would require heightened supervision.

       72.     In choosing to operate an educational institution for students, The Citadel

undertook the duty to exercise reasonable care in hiring, retaining, and supervising instructors and

staff with whom the safety and care of the students could reasonably be entrusted.

       73.     The Citadel, through its officials, made representations to John Doe and his

parents that LTC Boes mentored, coached, and advised students in every facet of cadet life.

       74.     The Citadel, by and through its respective agents, servants, and employees,

knew, or reasonably should have known, of LTC Boes’ dangerous and exploitive propensities

and/or that LTC Boes was an unfit agent.

       75.     Despite such knowledge, The Citadel breached its duty to provide

reasonable supervision of LTC Boes and enabled LTC Boes, who was in a position of trust and

authority for The Citadel, to commit the wrongful acts against John Doe.

       76.     The Citadel acted negligently, grossly negligently, recklessly, maliciously,

willfully and wantonly, and breached this duty with respect to John Doe by:

               a.      Not only retaining Boes, but continuing to promote him;

               b.      Creating an environment in which LTC Boes and other
                       instructors were permitted to prey on the inexperience and
                       vulnerability of students;

               c.      Permitting LTC Boes to manipulate John Doe’s discipline;



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                d.      Failing to ascertain why LTC Boes was providing input into
                        John Doe’s discipline and to determine that he was doing so
                        for improper purposes;

                e.      By the Commandant and LTC Boes visiting John Doe’s
                        jobsite when it was foreseeable that such a visit would cause
                        further apprehension and distress given the nature of the
                        abuse suffered by John Doe; and

                f.      Any other particulars which may be shown at trial.

        77.     As a direct and proximate result of The Citadel’s breaches of

duties, LTC Boes repeatedly and forcibly sexually abused John Doe on The

Citadel’s premises.

        78.     John Doe is entitled to damages as a result of acts and/or omissions of The

Citadel.

                                 THIRD CAUSE OF ACTION
                             Reckless Infliction of Emotional Distress

        79.     John Doe realleges and reincorporates all preceding paragraphs as if fully

set forth herein.

        80.     By employing LTC Boes and choosing to place LTC Boes in a position

where his work with students/cadets was inadequately supervised, and by causing John Doe to be

sexually abused as a thriving student/cadet, The Citadel by extreme and outrageous conduct

recklessly directly and proximately caused severe emotional distress and bodily harm to John Doe.

        81.     The Citadel’s conduct in employing LTC Boes, holding out its premises as

a safe environment for students when it had reason to know it could be a dangerous place for

students, and thereby causing John Doe to be sexually assaulted by LTC Boes constituted extreme

and outrageous conduct that was atrocious and went beyond all bounds of decency such that its

conduct is utterly intolerable in a civilized society.



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        82.     The Citadel acted recklessly in employing, retaining,

promoting, and permitting LTC Boes to work unsupervised with students and/or allowing him to

use their facilities for functions and activities, thereby causing John Doe to be sexually abused by

LTC Boes.

        83.     John Doe directly and proximately suffered severe emotional distress,

including severe mental anguish and horror, because of The Citadel’s intentional or reckless,

extreme, and outrageous conduct.

                                 FOURTH CAUSE OF ACTION
                                    Invasion of Privacy

        84.     John Doe realleges and reincorporates all preceding paragraphs as if fully

set forth herein.

        85.     The facts set forth above demonstrate that LTC Boes invaded John Doe’s

rights to personal security, personal liberty, and privacy.

        86.     LTC Boes’ sexual abuse of John Doe was of the nature that demonstrated

a blatant and shocking disregard to John Doe’s rights and directly and proximately resulted in

serious mental injury and humiliation to John Doe.

        87.     At the time of the incidents described above, LTC Boes was an agent and

servant of The Citadel, acting within the scope of his employment.

        88.     The Citadel is liable for the acts of LTC Boes, its employee who was acting

within the scope of his employment, under the doctrine of respondeat superior.

        89.     As a direct and proximate result of LTC Boes’ invasion of John Doe’s rights

to privacy, personal security, and personal liberty, John Doe is entitled to recover damages.

                                  FIFTH CAUSE OF ACTION
                                          Outrage



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        90.     John Doe realleges and reincorporates all preceding paragraphs as if fully

set forth herein.

        91.     The facts set forth above demonstrate LTC Boes

inflicted severe emotional distress on John Doe through acts of sexual abuse as well as his threats

and related conduct that coerced John Doe to engage in sexual acts.

        92.     At the time of LTC Boes’ sexual abuse of John Doe, a special relationship

existed between John Doe and LTC Boes, who was an employee of The Citadel and charged with

the custody and care of John Doe.

        93.     LTC Boes’ conduct towards John Doe was so extreme and outrageous as

to exceed all possible bounds of decency and must be regarded as atrocious and utterly intolerable

in a civilized society.

        94.     The emotional distress suffered by John Doe, who suffered in silence for

months and continues to suffer, is so severe that no reasonable person could be expected to endure

it.

        95.     At the time of the incidents described above, LTC Boes was an agent and

servant of The Citadel, acting within the scope of his employment.

        96.     The Citadel is liable for the acts of LTC Boes, its employee who was acting

within the scope of his employment, under the doctrine of respondeat superior.

        97.     John Doe is entitled to damages against both Defendants as a result of LTC

Boes’ outrageous acts and/or omissions.


                                  SIXTH CAUSE OF ACTION
                                          Assault

        98.     John Doe realleges and reincorporates all preceding paragraphs as if fully



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set forth herein.

        99.     The facts set forth above demonstrate that John Doe was placed in

reasonable fear of immediate harmful, unwanted, and offensive touching by LTC Boes.

        100.    From Summer of 2017 to April 2018, LTC Boes engaged in unpermitted,

harmful, and offensive sexual conduct and contact upon the person of John Doe, in violation of

South Carolina law.

        101.    As a direct and proximate result of LTC Boes’ assaults and conduct

described above, John Doe suffered damages.

        102.    Said conduct was undertaken while LTC Boes was under supervision and

authority of The Citadel.

        103.    The conduct by LTC Boes was committed during the course and scope of

his employment with The Citadel.

        104.    LTC Boes’ sexual misconduct with John Doe was ratified by The Citadel.

        105.    Prior to or during the abuse alleged above, The Citadel knew, had reason

to know, or should have had reason to know, that LTC Boes posed a risk and would harm students,

including John Doe.

        106.    John Doe was a student at The Citadel at the time of his sexual abuse by

LTC Boes.

        107.    The Citadel is vicariously liable for LTC Boes’ assaults and conduct

described above.


                                  SEVENTH CAUSE OF ACTION
                                           Battery

        108.    John Doe realleges and reincorporates all preceding paragraphs as if fully



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set forth herein.

        109.    Without consent of John Doe, LTC Boes willfully, maliciously, and

repeatedly sexually assaulted John Doe on The Citadel’s premises.

        110.    LTC Boes intended to cause harmful and sexually offensive contact directly

with John Doe’s sexual body parts, contact that offends a reasonable sense of personal dignity.

        111.    LTC Boes intended to cause a harmful and offensive contact with John Doe

by the use of LTC Boes’ hands and other body parts to make contact directly with John Doe’s

sexual body parts.

        112.    LTC Boes willful, malicious, and oppressive conduct as hereinabove

alleged was engaged solely to satisfy his own motives and personal desires, to the detriment of

John Doe.

        113.    John Doe did not consent to the touching and sexual contact.

        114.    John Doe was harmed by LTC Boes’ unwanted sexual conduct.

        115.    The Citadel is liable for the acts of LTC Boes, its employee who was acting

within the scope of his employment, under the doctrine of respondeat superior.

                                EIGHTH CAUSE OF ACTION
                                    False Imprisonment

        116.    John Doe realleges and reincorporates all preceding paragraphs as if fully

set forth herein.

        117.    John Doe was unlawfully and without consent restrained by LTC Boes in

        118.    LTC Boes’ office and residence located on The Citadel’s premises.

        119.    LTC Boes confined John Doe in his office and residence located on The

Citadel’s premises and demonstrated aggression when John Doe attempted to leave, forcing John

Doe to submit to the apprehension of LTC Boes’ force and position of authority and influence.

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        120.    At the time of the incidents of unlawful restraint described above, LTC Boes

was an agent and servant of The Citadel, acting within the scope of his employment.

        121.    As a direct and proximate result of LTC Boes’ unlawful restraint of John

Doe, John Doe is entitled to recover damages against both Defendants.

                                  NINTH CAUSE OF ACTION
                                      Sexual Harassment

        122.    John Doe realleges and reincorporates all preceding paragraphs as if fully

set forth herein.

        123.    The facts set forth above demonstrate that John Doe was sexually harassed

by LTC Boes in a violation of South Carolina law including, but not limited to, the provisions of

Sections 1-13-10 through 1-13-100 of the South Carolina Code of Laws and the sexual harassment

policy of The Citadel.

        124.    At the time of the incidents of sexual harassment described above, LTC

Boes was an agent and servant of The Citadel, acting within the scope of his employment.

        125.    As a direct and proximate result of LTC Boes’ sexual harassment of John

Doe, John Doe is entitled to recover damages against both Defendants.

        Wherefore, Plaintiff John Doe respectfully prays for a judgment for compensatory and

punitive damages, reasonable attorneys’ fees, and expert fees against Defendants, jointly and

severally, in an amount to be determined by the jury, together with interest, costs of this action,

and any such other and further relief this Court or the trier of fact deems just and proper.




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August 21, 2019
Hampton, South Carolina




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